Case 5:18-fj-O0003-HE Document 54 Filed 04/09/19 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA

MARVIN KENT POWELL and )
SHAWNA POWELL, )
)
Plaintiffs, )
Vv. ) Case No. 5:18-FJ-00003-HE
)
WILBANKS SECURITIES, INC., an )
Oklahoma Corporation, and AARON )
BRONELLE WILBANKS, individually, )
)
Defendants. )
Garnishment Affidavit
State of Oklahoma ) SS
County of Tulsa )

I, Nicholas M. Tait being duly sworn, states as follows:

1. That I am the attorney for the Plaintiffs in the above-styled case;

2. That Aaron Bronelle Wilbanks and Wilbanks Securities, Inc., the Judgment Debtors, are
indebted to Plaintiff as follows:

 

$1,011,500.00 Interest-bearing balance

$_ 619,343.21 Interest at 8% from February 8, 2012

$ 1,695.08 Court costs not included in interest-bearing balance

$_ 334,025.00 Attorney fees not included in interest-bearing balance
$1,966,563.29 Total Garnishment amount

3. That I believe that Garnishee, Sammons Financial Network LLC, is indebted to or has
property within its possession or under its control, which is not by law exempt from seizure or
sale upon execution, belonging to the Judgment Debtors.

4. That I (check one) xX am,or,__ am not seeking a continuing garnishment.

CE

 

Nicholas M. Tait, OBA No. 22739
Attorney for Judgment Creditor

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